                                                                                       DISTRICT OF OREGON
                                                                                            FILED
                                                                                            May 15, 2020
                                                                                     Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
     (a) The trustee is authorized to compensate the debtor's attorney in the amount requested below
without further notice or order if this application and order thereon are timely served unless, within 30 days
of the FILED date, a party files a written objection setting forth specific grounds for the objection with the
clerk at 1050 SW 6th Ave. #700, Portland OR 97204. If the amount requested includes fees for work
necessary to complete the case, and payment of the fees will have any impact on creditor distributions, the
trustee is authorized to compensate the attorney in the amount requested for work necessary to complete
the case 21 days after an itemized bill for the additional work is filed and the bill is served on the debtor
unless, within 14 days after service, a written objection is filed.
     (b) The applicant must: (1) comply with all provisions in the court's Notice to Serve Document(s), and (2)
serve this document and file the completed certificate of service using this document without any
attachments.



                                                                     _____________________________
                                                                            TRISH M. BROWN
                                                                          U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                                 )
                                                      )              17-30759-tmb13
                                                          Case No. _______________
Radin Cyrus                                           )
                                                      )   [ONLY FOR CHAPTER 13 CASES]
                                                      )   APPLICATION BY DEBTOR'S ATTORNEY
                                                      )   FOR SUPPLEMENTAL COMPENSATION;
Debtor(s)                                             )   AND ORDER AND NOTICE THEREON

I, the undersigned debtor's attorney, whose address and phone number are _____________________
1500 SW Bethany Blvd, Ste 288, Beaverton, OR 97006 503-352-3690
_________________________________________________________________________,                           apply for
additional compensation from the debtor's estate for the period from __________
                                                                            04/28/17 to __________
                                                                                             05/07/20 in the
sum of $____________
               691.00       (which is not less than $500 unless this is a final application, and which, if this
                                           0
is a final application, includes $____________     in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)          IS      IS NOT my final application for compensation in this case.

    2. I have previously been awarded a total of $____________.
                                                     3,450.00   If granted, the total approved
                                    4,141.00
    compensation amount will be $____________.

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    3. My Disclosure of Compensation shows the debtor(s) and I agreed to:
       ___ Schedule 2 ___ Schedule 3.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                03/06/17 which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will (mark all that apply):
       __ not affect the distribution to creditors.
       __ not change the length of the plan which is estimated at _______
                                                                       60   months.
       __ change the length of the plan from an estimated _____ months to an estimated ______
           months.
                                                                  2
       __ delay the distribution to creditors by approximately ______  months.
       __ reduce the distribution to general unsecured creditors from an estimated _____%
                                                                                      17    to an
           estimated _____
                        16 %
       __ require that the debtor pay more, either by additional or increased plan payments sufficient
           to pay the additional fees.
       __ other: _____________________________________________________________________
          _________________________________________________________________________.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        05/07/20                                             _____________________________________
                                                             /s/ Ryan Hackett
                                                             Debtor's Attorney



STOP: BEFORE SERVING COPIES, SUBMIT THE MOTION TO OBTAIN A JUDGE'S ORDER!


                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.
                                                 _____________________________________________
                                                 Signature & Relation to Applicant
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                                                 Chapter 13 Post‐Confirmation Fee Itemization
                                         Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006

Client(s): Cyrus      Case No.: 17‐30759
Hourly Rates:
Ryan Hackett (RPH), Attorney: $380/hr
Rosemary Zook (REZ), Attorney: $380/hr
Christy Dickson (CLD), Josh Orem (JRO) Attorney: $200/hr
Cheryl Riley/Terrien (CLR/CLT), Paralegal: $200/hr
Legal Assistant: $130/hr
All Other Staff: $90/hr
    Date                                         Description of Task                                    Staff Time   Rate     Cost
  4/28/2017 letter to client regarding case confirmed                                                   CLT    0.2    180 $     36.00
    5/8/2017 received Citi notice, loan sold, scanned & gave to CLR                                     KDR      0     75 $          ‐
   5/9/2017 reviewed letter from Citi regarding debt sold to Portfolio, prepared and mail letter to    CLT     0.2    180 $     36.00
            Portfolio debt included in bankruptcy
  5/22/2017 We received the court's notice that the client still need to file her Financial Management CLT     0.2    180 $     36.00
            Certificate, letter to client regarding same
  6/14/2017 processed Oregon Department of Revenue's claim                                             CLT       0    180 $          ‐
  6/21/2017 reviewed the claims for the bar date                                                        CLT      0    180 $          ‐
  10/2/2017 received in mail from Wayne Godare ‐ intent to pay claims ‐ scanned and gave to CLR         HAS      0     75 $          ‐

 10/17/2017 I reviewed the Trustee's notice of intent to pay claims & compared the confirmed plan       CLT    0.1    180 $     18.00
            against the Trustee's site
  1/30/2018 received from court Wells Fargo's Notice of Payment Change effective 03‐01‐18, letter to    CLT    0.2    180 $     36.00
            client regarding same
   2/5/2018 received in mail from Wells Fargo ‐ mortgage payment change ‐ scanned and gave to           HAS      0     75 $          ‐
            KDG
   2/6/2018 reviewed Wells Fargo 's mortgage payment change, CLR already mailed client copy, put        KDR      0    130 $          ‐
            in shred
   2/9/2018 letter to clients requesting copy of 2017 tax returns                                       KDR    0.2    130 $     26.00
  4/16/2018 client email 2017 tax returns and questions about paying in refunds, saved to client file   CLT      0    195 $          ‐

  4/16/2018 redacted the 2017 tax returns, forward a copy to the Trustee                                CLT    0.1    195 $     19.50
  4/16/2018 email client tax returns forward to Trustee and instructions for mailing in refunds         CLT    0.1    195 $     19.50

  4/16/2018 thank you email from client                                                                 CLT      0    195 $          ‐
  1/14/2019 letter to clients to request 2018 tax return and tax refunds minus Earned Income Credit     CLT    0.2    195 $     39.00
            to Trustee
  1/24/2019 received from court Wells Fargo's notice of payment change effective 03‐01‐19, letter to    CLT    0.2    195 $     39.00
            client regarding same
  1/29/2019 received in mail from Wells Fargo ‐ notice of mortgage payment change ‐ scanned and         HAS      0     75 $          ‐
            gave to CLR
  1/29/2019 reviewed mail from Wells Fargo regarding payment change, is duplicate of copy received      CLT      0    195 $          ‐
            from court, already forward client copy
  9/12/2019 emailed client to check on status of 2018 tax returns                                       CLT    0.1    195 $     19.50
  11/7/2019 letter to client regarding need 2018 tax returns or Trustee could Motion to Dismiss         CLT    0.2    195 $     39.00

  12/4/2019 email to client regarding 2018 taxes still needed                                           CNC    0.1     75 $      7.50
  1/28/2020 letter to client to send copy of 2019 tax returns to our office and refund minus Earned     CLT    0.2    200 $     40.00
            Income Credit to Trustee
  1/30/2020 received from court Wells Fargo's notice of payment change effective 03‐01‐20, letter to    CLT    0.2    200 $     40.00
            clients regarding same
   2/5/2020 received from court Trustee's Motion To Dismiss for missing 2018 tax returns, letter to     CLT    0.2    200 $     40.00
            client regarding same
  2/13/2020 emailed client regarding Trustee's Motion to Dismiss for missing 2018 tax returns           CLT    0.1    200 $     20.00




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                                              Chapter 13 Post‐Confirmation Fee Itemization
                                     Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006
2/19/2020 client emailed copy of 2018 federal tax transcript, emailed back will need copy of state   CLT   0.1   200 $    20.00
          too
2/19/2020 emailed Trustee copy of 2018 federal tax transcript with note working on getting state     CLT   0.1   200 $    20.00

2/19/2020 client emailed she will request state return today                                         CLT    0    200 $       ‐
2/27/2020 client emailed 2018 tax rets, saved to file, redacted, forward copy to Trustee             CLT   0.1   200 $    20.00

2/27/2020 emailed client regarding 2018 tax returns forward to Trustee                               CLT    0    200 $       ‐
2/27/2020 received from court Trustee's Withdrawal of Motion to Dismiss, email to client regarding CLT      0    200 $       ‐
          same
3/12/2020 received in mail from Wells Fargo Notice of Withdrawl, scanned & gave to CLR             CNC      0    75 $        ‐

3/23/2020 reviewed Withdrawal of post petition mortgage fees, notes to file                          CLT    0    200 $       ‐
4/15/2020 emails with client regarding stimulus funds                                                CLT   0.1   200 $    20.00
 5/7/2020 reviewed for additional attorney fees                                                      CLT             $   100.00
                                                                                                                     $   691.00




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